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SO ORDERED.

SIGNED this 31st day of July, 2013.




   C-13-15a(Order)
   (Rev.10/09)


                           UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF NORTH CAROLINA


   In Re:                                            )
                                                     )
                                                     )
   RAIMOND B. HALL                                   )
   TERRY B. HALL,                                    )      No. B-08-51286        C-13W
                                                     )
                                Debtors.             )

                                             ORDER

          This matter came before the Court upon the Motion of Kathryn L. Bringle, Trustee
   for the above-referenced Debtors, for a determination that the mortgage account of
   Green Tree Servicing, LLC (the “Creditor”) or its successors and assignees is current and
   to require the Creditor to properly credit payments to the mortgage account.

           The Creditor filed a proof of claim in the Chapter 13 case and provided evidence of
   a lien on the Debtors’ 1997 Fleetwood mobile home.

          The Trustee has been disbursing ongoing monthly mortgage payments to the
   Creditor and has paid the Creditor’s arrearage claim in full. The Trustee’s records show
   that the mortgage account is current.

            The Court is of the opinion that the Trustee’s motion should be granted; therefore,
   it is

           ORDERED that all prepetition and postpetition defaults are deemed to have been
   cured and the account is deemed current and reinstated on the original payment
   schedule under the note and security agreement as if no default had ever occurred; and it
   is further
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       ORDERED that the Creditor is required to credit payments it receives beginning
July 2013 to monthly payments due beginning July 2013.

                               END OF DOCUMENT
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                          PARTIES TO BE SERVED
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RAIMOND B HALL
TERRY B HALL
160-7 KINDER RD
WINSTON SALEM, NC 27107

JOHN A MEADOWS
SUITE C
2596 REYNOLDA RD
WINSTON-SALEM, NC 27106

GREEN TREE SERVICING LLC                              NOT ON MATRIX
ATTN OFFICER OR MANAGING AGENT
P O BOX 6154
RAPID CITY, SD 57709

KATHRYN L. BRINGLE
CHAPTER 13 TRUSTEE
PO BOX 2115
WINSTON-SALEM, NC 27102-2115
